       Case 2:18-cv-01134-AKK Document 16 Filed 04/30/19 Page 1 of 24                      FILED
                                                                                  2019 Apr-30 AM 10:55
                                                                                  U.S. DISTRICT COURT
                                                                                      N.D. OF ALABAMA


                  UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                       SOUTHERN DIVISION


MARTHA ALLEN,                              )
                                           )
      Plaintiff,                           )
                                           )    Civil Action Number
v.                                         )    2:18-cv-01134-AKK
                                           )
HARTFORD LIFE & ACCIDENT                   )
INSURANCE COMPANY,                         )
                                           )
      Defendant.


                          MEMORANDUM OPINION

      Martha Allen filed this lawsuit against Hartford Life and Accident Insurance

Company, alleging violations of the Employee Retirement Income Security Act of

1974 (“ERISA”), 29 U.S.C. 1101 et seq. Doc. 1. Allen contends that Hartford

wrongfully denied her long-term disability (“LTD”) benefits due to its duplicative

requests for documentation, breach of fiduciary duty, bad faith, conflict of interest,

and inability to provide a full and fail review. Id. at 5-18. Before the court is

Hartford’s motion to dismiss, or in the alternative, motion for summary judgment,

doc. 7. The motion, which is fully briefed, docs. 14 and 15, and which the court

addresses as one for summary judgment, is due to be granted.




                                          1
         Case 2:18-cv-01134-AKK Document 16 Filed 04/30/19 Page 2 of 24



       I. LEGAL STANDARD FOR SUMMARY JUDGMENT
       Although “the law is less clear as to what requirement governs when

considering dismissal for failure to exhaust administrative remedies in an ERISA

case,” the Eleventh Circuit has affirmed district courts’ decisions on ERISA claims

and exhaustion requirements under both Rule 12(b)(6) and Rule 56 of the Federal

Rules of Civil Procedure. See, e.g. Davis v. Prudential Ins. Co. of Am., No.

2:14CV43-MHT, 2018 WL 3094885, at *2 (M.D. Ala. June 22, 2018) (affirming

dismissal of ERISA claim for a failure to exhaust under Rule 12(b)(6)) and Perrino

v. S. Bell Tel. & Tel. Co., 209 F.3d 1309, 1315 (11th Cir. 2000) (same under Rule

56).

       In light of both parties submitting evidence and affidavits in support of and

opposition to Hartford’s motion, 1 the court considers this matter pursuant to the

provisions of Rule 56 of the Federal Rules of Civil Procedure. Day v. Taylor, 400

F.3d 1272, 1276 (11th Cir. 2005) (“The district court generally must convert a

motion to dismiss into a motion for summary judgment” once the court looks at

matters outside of the pleading). Under Rule 56(a) of the Federal Rules of Civil

Procedure, summary judgment is proper “if the movant shows that there is no

1
  After Hartford attached 120 pages of evidence in support of its Motion to Dismiss, doc. 7,
Magistrate Judge John E. Ott notified the parties that the court “intends to treat the motion as one
to dismiss under Rule 12(b)(6) or alternatively for summary judgment under Rule 56” and that
“[Allen] shall file any opposition or other response, including any evidence,” doc. 8. Allen
subsequently attached 230 pages of evidence in her response, doc. 13, and asked the court to
address the motion as one for summary judgment in light of the “competing submissions by the
parties.” Doc. 14 at 5.
                                                 2
       Case 2:18-cv-01134-AKK Document 16 Filed 04/30/19 Page 3 of 24



genuine dispute as to any material fact and the movant is entitled to judgment as a

matter of law.” Fed. R. Civ. P. 56. “Rule 56[] mandates the entry of summary

judgment, after adequate time for discovery and upon motion, against a party who

fails to make a showing sufficient to establish the existence of an element essential

to that party’s case, and on which that party will bear the burden of proof at trial.”

Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986) (alteration in original). The

moving party bears the initial burden of proving the absence of a genuine issue of

material fact. Id. at 323. The burden then shifts to the nonmoving party, who is

required to “go beyond the pleadings” to establish that there is a “genuine issue for

trial.” Id. at 324 (citation and internal quotation marks omitted). A dispute about a

material fact is genuine “if the evidence is such that a reasonable jury could return

a verdict for the nonmoving party.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242,

248 (1986).

      On summary judgment motions, the court must construe the evidence and all

reasonable inferences arising from it in the light most favorable to the non-moving

party. Adickes v. S. H. Kress & Co., 398 U.S. 144, 157 (1970); see also Anderson,

477 U.S. at 255. Any factual disputes will be resolved in the non-moving party’s

favor when sufficient competent evidence supports the non-moving party’s version

of the disputed facts. See Pace v. Capobianco, 283 F.3d 1275, 1276, 1278 (11th

Cir. 2002) (a court is not required to resolve disputes in the non-moving party’s


                                          3
        Case 2:18-cv-01134-AKK Document 16 Filed 04/30/19 Page 4 of 24



favor when that party’s version of events is supported by insufficient evidence).

However, “mere conclusions and unsupported factual allegations are legally

insufficient to defeat a summary judgment motion.” Ellis v. England, 432 F.3d

1321, 1326 (11th Cir. 2005) (per curiam) (citing Bald Mountain Park, Ltd. v.

Oliver, 863 F.2d 1560, 1563 (11th Cir. 1989)). Moreover, “[a] mere ‘scintilla’ of

evidence supporting the opposing party’s position will not suffice; there must be

enough of a showing that the jury could reasonably find for that party.” Walker v.

Darby, 911 F.2d 1573, 1577 (11th Cir. 1990) (citing Anderson, 477 U.S. at 252).

II. FACTUAL BACKGROUND

      Allen worked as an insurance claims adjuster for Infinity Property and

Casualty Corporation until 2017 when she stopped working due to various medical

ailments. Docs. 1; 13-1 at 59; 13-3 at 5-20. Thereafter, Allen applied in March

2017 for disability benefits through Infinity’s Hartford-sponsored policy. Doc. 7-

1. In April 2017, Hartford found Allen eligible for short-term disability (“STD”)

benefits, which it deemed to be “not payable beyond June 28, 2017.” Doc. 7-4.

Sometime in June, Hartford began a concurrent review of Allen’s eligibility for

LTD benefits and notified Allen that this inquiry would require a separate approval

process. Id.

      During this period, the parties engaged in a flurry of correspondence

regarding requests for and supplements to Allen’s medical record. See docs. 7-1


                                        4
          Case 2:18-cv-01134-AKK Document 16 Filed 04/30/19 Page 5 of 24



through 7-14 and 13-1 through 13-5. Eventually, in September 2017, Hartford

informed Allen of its decision to terminate her LTD benefits due to Allen’s failure

to provide proof of her ongoing disability and her “lack of response and lack of

medical information.” Doc. 7-3 at 1. Hartford also notified Allen that she may

“perfect her claim” by providing the necessary information, or “if [she is] unable to

or do[es] not wish to provide the requested information, [she] may appeal submit

an appeal of [the] decision to the Appeal Unit.” Id. at 4-5. Allen, through her

attorney, contacted Hartford’s Appeals Unit in January 2018. The correspondence

relayed Allen’s intent to revoke Hartford’s access to the HIPAA authorization she

previously provided, her decision to appeal the adverse LTD determination, and

her submission of additional medical information Hartford previously requested.

Doc. 7-5.

         A month later, the Appeals Unit acknowledged receiving Allen’s letter and

documents, but construed the submission as a response to perfect the denied LTD

claim.      Consequently, the Appeals Unit “forward[ed] [Allen’s] letter and

attachments to the Maitland Claim Office” for further evaluation of her claim in

light of additional materials which appeared in response to prior requests for

documentation. Doc. 7-6. Thereafter, Tameka Caldwell, a senior disability analyst

in the Maitland Claim Office, noted the receipt of the documents included in

“Allen’s request for an appeal,” and requested additional information from Allen,


                                         5
       Case 2:18-cv-01134-AKK Document 16 Filed 04/30/19 Page 6 of 24



including past and present neuropsychological exams, as well as medical records

from Dr. Aaron Fobian who had treated Allen since March 2017. Doc. 7-7.

Allen’s attorneys subsequently provided updated medical records from various

physicians, including Dr. Fobian. Counsel also inquired about Hartford’s delay in

reinstating Allen’s benefits, contending that their submission of additional

documents fully addressed the grounds for the denial of the claim. Doc. 13-2 at

41.

      Hartford responded that it initially denied the LTD claim due to incomplete

records and that “an appeal is not necessary at this time until a decision is made.”

Doc. 7-8. Hartford also informed counsel of the difficulties it had in obtaining a

“neuropsychological evaluation documented in the medical records.” Doc. 7-8.

Nearly a month later, Hartford warned that it would make a determination on the

LTD claim based on the records it had received, which might result in a denial, and

inquired again about the missing medical records, including past and present

neuropsychological exams and Dr. Fobian’s mental health records. Doc. 7-9. In

response, Allen’s attorneys sent additional records they had recently received from

Dr. Fobian.   Doc. 13-3 at 34.     The submission proved incomplete, however,

causing Hartford to respond that Allen’s LTD claim remained under review

because its clinical staff needed Allen’s neuropsychological exams. Id. at 45.

Hartford explained a few days later that while it understands that Allen did not


                                         6
         Case 2:18-cv-01134-AKK Document 16 Filed 04/30/19 Page 7 of 24



want to undergo a new neuropsychological exam, it needed a copy of the 2016

exam.     Doc. 7-10 at 1.       Counsel for Allen refused to provide the 2016

neuropsychological exam, stating that “it is not relevant as to whether Ms. Allen is

disabled as of the date this benefit is to commence” and “precedes the date of

disability for the STD claim which was paid.” Doc. 13-3 at 51. Counsel also

explained that Allen would not answer the request for more assessments and that

they expected to receive a timely determination on Allen’s claim. Id.

        Thereafter, Hartford requested a list of Allen’s current treatment providers,

attending physician’s statement, and neuropsychological evaluation reports. Doc.

7-11 at 2. Allen’s attorneys responded with a request for clarification on what

additional information Hartford needed to review the LTD claim. Doc. 13-3 at 56.

The following day, Hartford explained that it needed a list of Allen’s past and

current treatment providers and that if Allen refuses to provide the information, she

“may submit an appeal to the Appeals Unit at the time a decision is made based on

the information currently in the claim file.”      Doc. 7-12.     Counsel for Allen

responded that they had already provided a list of Allen’s medical providers. Doc.

13-3 at 61. Roughly a month later, counsel expressed concern over the “endless

cycle” of document requests in the six months since Allen submitted

documentation for her LTD claim and asked Hartford to explain why Allen should

not file a lawsuit. Id. at 62. The following day, Hartford notified Allen that it “has


                                          7
       Case 2:18-cv-01134-AKK Document 16 Filed 04/30/19 Page 8 of 24



completed [its] review of her claim for benefits and [has] determined that [it is]

unable to complete [the] investigation. Because of this, [it] must deny her claim.”

Doc. 7-13 at 1. Hartford explained that Allen may perfect her claim by providing

the necessary information or she may appeal the decision. Id. at 5. Allen filed this

lawsuit in response. Doc. 1.

III. ANALYSIS

      Although ERISA does not include an exhaustion requirement, the Eleventh

Circuit strictly enforces this requirement with narrow exceptions for exceptional

circumstances, such as where the administrative scheme is unavailable, futile, or

fails to offer an adequate legal remedy. Perrino, 209 F.3d at 1315. Exhaustion is

not excused even for “technical violations of ERISA regulations that do not deny

plaintiffs meaningful access to an administrative remedy procedure through which

they may receive an adequate remedy.” Id. at 1317.          As the Circuit puts it,

“[a]dministrative claim-resolution procedures reduce the number of frivolous

lawsuits under ERISA, minimize the cost of dispute resolution, enhance the plan’s

trustees’ ability to carry out their fiduciary duties expertly and efficiently by

preventing premature judicial intervention in the decision-making process, and

allow prior fully considered actions by pension plan trustees to assist courts if the

dispute is eventually litigated.” Mason v. Cont’l Grp., Inc., 763 F.2d 1219, 1227

(11th Cir. 1985).     Consequently, “if a reasonable administrative scheme is


                                         8
          Case 2:18-cv-01134-AKK Document 16 Filed 04/30/19 Page 9 of 24



available to a plaintiff and offers the potential for an adequate legal remedy, then a

plaintiff must first exhaust the administrative scheme before filing a federal suit.”

Id. Ultimately, the plaintiff “must carry the burden of proof, demonstrating that

[s]he is entitled to recover under ERISA’s civil enforcement provision” and that

she “exhaust[ed] [the] administrative claim and appeal procedures available under

the pension and severance plans and must plead exhaustion before filing suit to

obtain relief under ERISA.” Goldstein v. Kellwood Co., 933 F. Supp. 1082, 1087–

88 (N.D. Ga. 1996) (citing Byrd v. MacPapers, Inc., 961 F.2d 157, 159 (11th Cir.

1992)).

      Hartford argues that Allen failed to exhaust her LTD claim. Doc. 7 at 1.

Allen counters that her claim is ripe for judicial review because (1) Hartford’s

September 9, 2017 denial letter was an adverse determination and entitled her to an

appeal; (2) she filed and properly pursued a timely appeal in January 2018, which

Harford failed to adjudicate; (3) Hartford failed to timely decide her appeal which

resulted in a “deemed denial;” and alternatively, (4) even if Hartford properly

tolled their decision, she exhausted her remedies because Hartford affirmed its

September 2017 determination.       Doc. 13 at 13-31.      The court reviews each

contention below.




                                          9
          Case 2:18-cv-01134-AKK Document 16 Filed 04/30/19 Page 10 of 24



          A. Whether Hartford’s September 2017 Letter Entitled Allen to Appeal

          In early September 2017, Hartford sent Allen a letter explaining that her

“LTD benefits must be denied” because Allen’s “lack of response and lack of

medical information hindered [Hartford’s] ability to determine whether” Allen

satisfied the provisions of the LTD policy. Doc. 7-3. Allen maintains that this

letter constituted an adverse benefit determination.2 Doc. 14 at 7. Indeed, a review

of the letter indicates that Hartford denied the claim and notified Allen of her rights

to appeal. Doc. 7-3. This notification is consistent with the regulations, which

require that the plan include the specific reason for the adverse determination,

reference to the specific plan provision, description of additional material

necessary to perfect the claim, and a description of the review procedures,

including the right to file a civil action if the decision is affirmed. 29 C.F.R. §

2560.503–1(g).

          Hartford is correct that it noted in the letter that because Allen lacked a

“sufficient proof of loss to enable [Hartford] to determine [her] disability,” Allen

could “perfect” her claim by submitting the necessary and required information.

2
    An “adverse benefit determination” is in part:

          A denial, reduction, or termination of, or a failure to provide or make payment (in
          whole or in part) for, a benefit, including any such denial, reduction, termination,
          or failure to provide or make payment that is based on a determination of a
          participant’s or beneficiary’s eligibility to participate in a plan, . . .

29 C.F.R. § 2560.503-1(m)(4)(1).

                                                     10
       Case 2:18-cv-01134-AKK Document 16 Filed 04/30/19 Page 11 of 24



Id. at 5. However, in arguing that the letter was not a decision on the merits, doc.

15 at 6, Hartford overlooks that it explained that if Allen is “unable to or do[es] not

wish to provide the requested information,” she could “submit an appeal of [the]

decision to the Appeals Unit” or she “may appeal [the decision] even if [she does]

not have any additional information to send [Hartford].” Id. (emphasis added).

Hartford also explained that it would review Allen’s entire claim and any

additional information received on appeal and that if it denied her claim again,

Allen had the right to file a lawsuit. Id. at 6. Therefore, viewing the facts in the

light most favorable to Allen, the letter serves as a basis for Allen to appeal.

      B. Whether Allen Properly Filed an Appeal in January 2018

      Allen contends that she timely appealed in January 2018, when she sent a

letter to Hartford indicating her intent to appeal. Doc. 13-2 at 25-27. To determine

whether Allen properly appealed the decision, the court examines her policy. Am.

Dental Ass’n v. WellPoint Health Networks Inc., 494 F. App’x 43 (11th Cir. 2012)

(finding that plaintiff’s failure to appeal in writing under the parameters set forth

by the health care plan is not excused under futility). Here, Infinity’s Benefit Plan

indicates that Allen “must request a review upon written application within 180

days of receipt of claim denial if the claim requires [the company] to make a

determination of disability.” Doc. 7-14 at 16, 32. The policy states also that the

right to file suit may be affected if Allen does not complete the appeal, noting that


                                          11
       Case 2:18-cv-01134-AKK Document 16 Filed 04/30/19 Page 12 of 24



the claimant must “appeal once to the Insurance Company for a full and fair

review” and that the claimant “must complete this claim appeal process before [the

claimant] file[s] an action in court.”    Id. at 32. A review of the record here

establishes that Allen failed to complete the claim appeal process.

      To determine when Allen properly appealed, the court turns first to the

content of her letter, which indeed states Allen’s intent to appeal. Doc. 7-5.

However, in her letter, Allen also acknowledged that Hartford denied her claims in

part because of missing records, and Allen submitted medical assessments from

three doctors in response to Hartford’s prior requests for medical records. Doc. 13-

2 at 32-33; see doc. 7-4 (Hartford September 21, 2017 letter to Allen: “[W]e are

trying to determine if you remain disabled . . . The Attending Physician Statement

[and] All medical records for the period of 04/01/2017 . . . is necessary for us to

complete our investigation of your claim.”).       Hartford contends that it never

construed Allen’s letter as an appeal because its Appeals Unit informed Allen that

the documents received “appear in response to the [September 9, 2017] request”

for more information and that it was “forwarding [Allen’s] letter and attachments

to the Maitland Claim Office” as a result. Doc. 7-6.

      Allen’s response to Hartford’s letter and her actions thereafter supports

Hartford’s position. Specifically, two months after the Appeals Unit forwarded

Allen’s letter to the Maitland Office, counsel for Allen informed the Maitland


                                         12
       Case 2:18-cv-01134-AKK Document 16 Filed 04/30/19 Page 13 of 24



Office that “they are making available to Hartford additional updated medical

records recently received for Ms. Allen,” including January 2018 through March

2018 documents from Dr. Fobian. Doc. 13-2 at 41. Also, counsel indicated that

these “records are in further response to the original basis for the termination of

benefits,” id., suggesting that counsel was proceeding under the section of the

denial letter inviting Allen to perfect her claim by submitting the information

previously requested. This fact is also evident in counsel’s correspondence with

the claim’s administrator of the Maitland Claim office rather than the Appeals

Unit. This conduct and Allen’s failure to file a lawsuit after 45 days elapsed from

the date she submitted her January 2018 letter, which would have triggered a

“deemed denial,” belies her contention that she believed that she had a valid appeal

pending during this period. 29 C.F.R. § 2560.503-1(l)(2)(i); Hall v. United of

Omaha Life Ins. Co., 741 F. Supp. 2d 1348, 1357 (N.D. Ga. 2010) (finding that the

insurance company’s “alleged delay in providing an initial claim decision does not

trigger the deemed exhaustion provision” when the claimant “could have filed suit

once the original deadline had passed”).

      Moreover, courts have held that a plan administrator’s fiduciary obligation

to “seek to get to the truth” may require it to conduct limited investigation or to

request more information during the course of a benefit determination. See Gaither




                                           13
        Case 2:18-cv-01134-AKK Document 16 Filed 04/30/19 Page 14 of 24



v. Aetna Life Ins. Co., 394 F.3d 792, 807–08 (10th Cir. 2004) 3; see also Gilbertson,

328 F.3d at 636 (stating that an administrator can be in “substantial compliance”

with ERISA regulations when review extends beyond stated deadlines if the

administrator is engaged in “an ongoing productive evidence-gathering process in

which the claimant is kept reasonably well-informed”). Indeed, Infinity’s Plan

states that Hartford may “request Proof of Loss throughout Your Disability, as

reasonably required.” Doc. 7-14 at 17.             Allen has failed to demonstrate how

Hartford’s request for medical records, her partial responses to supplement her

record, and her outright refusal to provide neuropsychological assessments

supposedly “relates in any way to the reasonableness of [Hartford’s] claims

procedures or [Allen’s] ability to exhaust their administrative remedies.” RMP

Enterprises, LLC v. Connecticut Gen. Life Ins. Co., No. 9:18-CV-80171, 2018 WL

6110998, at *4 (S.D. Fla. Nov. 21, 2018) (frustration with the alleged “retaliatory”

request for medical records does not excuse “[the claimant’s] obligation to exhaust

their administrative remedies before filing ERISA claims”).

       Also, Allen’s actions – in particular her outright refusal to provide requested

information – and the specific requests she received from Hartford preclude a


3
 The Eleventh Circuit has found the Tenth Circuit’s reasoning persuasive on ERSIA claims. See
Glazer v. Reliance Standard Life Ins. Co., 524 F.3d 1241, 1245 (11th Cir. 2008) (noting that the
Tenth Circuit is the “only other circuit court that has decided this issue reached the same
conclusion” as the Eleventh Circuit on full and fair review under ERISA) (citing Metzger v.
UNUM Life Insurance Company of America, 476 F.3d 1161, 1167 (10th Cir. 2007)).

                                              14
       Case 2:18-cv-01134-AKK Document 16 Filed 04/30/19 Page 15 of 24



finding that she attempted to exhaust her remedies despite purported “wild-goose

chase” procedures. Cf. Bourgeois v. Pension Plan for Employees of Santa Fe Int’l

Corps., 215 F.3d 475 (5th Cir. 2000) (“We agree that the lack of information and

the behavior of various officials of the company led Bourgeois on a wild goose

chase, effectively extinguishing his time to apply for benefits.”); Hutchinson v.

Wickes Cos., 726 F. Supp. 1315, 1321 (N.D. Ga. 1989) (noting that when a plan’s

review apparatus “no longer exists” there is no need for a claimant to go through

the formalities and resort to exhaust her administrative remedies). And, although a

claimant may appeal a “refusal to process her claims absent” providing requested

information, courts look at the policy to determine at what point the claimant may

appeal their “denied” claim. Springer v. Wal-Mart Associates’ Grp. Health Plan,

908 F.2d 897, 900–01 (11th Cir. 1990) (noting the “[p]lan’s broad reference to

‘some other decision’ would not seem to limit the right of appeal to written

decisions; in any event, the letters sent to Springer by Wal–Mart plainly constituted

written notice to Springer of Wal–Mart’s refusal to proceed further with her

claims”). Here, the plan specifies that Allen must appeal to Hartford and complete

the claim appeal process before filing a lawsuit. Doc. 13-1 at 33. Allen never

completed the appeal process because after Hartford treated the January 2018 letter

as a submission of previously requested information, correspondence from her

counsel in the following months indicate an intent to continue to submit


                                         15
       Case 2:18-cv-01134-AKK Document 16 Filed 04/30/19 Page 16 of 24



documentation that the Maitland Office requested and deemed necessary to review

the LTD claim. See docs. 7-7; 7-8; 7-10 at 1; 7-11 at 2; 7-12; 13-2 at 41; 13-3 at

34, 45, 51, 56, 61.

      Finally, to request a determination of her future eligibility, doc. 1 at 18,

Allen “must first be deemed not ‘Totally Disabled’ and that decision must then be

administratively reviewed by [the insurance company].”       Peer v. Liberty Life

Assurance Co. of Bos., No. 18-13173, 2019 WL 494839, at *2 (11th Cir. Feb. 8,

2019) (citing Heimeshoff v. Hartford Life Acc. Ins. Co., 571 U.S. 99, 105 (2013)

(“A participant’s cause of action under ERISA . . . does not accrue until the plan

issues a final denial.”)). Without an adverse benefits determination based on the

merits of her claim, “there is no ripe claim before [the court],” making it

impossible for the court to “adjudicate [Allen’s] disability status in the future.”

Peer, 2019 WL 494839, at *2. And, Allen has not demonstrated the exceptions to

the exhaustion requirement, such as futility, denial of meaningful review, or

inadequate administrative remedy. See, e.g. Am. Dental Ass’n, 494 F. App’x at 46

(“The requirement of exhaustion may be excused if resorting to the administrative

remedies would be futile” and ultimately the claimant must “prove futility.”);

Springer, 714 F. Supp. at 901, 1176 (noting “that Springer never pleaded futility,

the issue was not raised in the pretrial order, and no evidence was offered to

demonstrate futility”).


                                        16
       Case 2:18-cv-01134-AKK Document 16 Filed 04/30/19 Page 17 of 24



      For all these reasons, Allen has failed to establish that she properly pursued

an appeal in January 2018.

      C. Whether Hartford’s Failure to Timely Adjudicate is a Deemed
         Denial for the Exhaustion Requirement

      Allen contends next that Hartford failed to issue a timely decision on her

appeal, citing language in her plan that the “insurance company will make a final

decision no more than 45 days after it receives your timely appeal . . . [and that this

time] may be extended for one additional 45 day period provided that . . . the

Insurance Company notified you in writing that an extension is necessary due to

special circumstances.” Doc. 13-1 at 33. Allen is generally correct that if a plan

fails to “establish or follow claims procedures consistent with” ERISA regulations,

“the claimant . . . shall be deemed to have exhausted the administrative remedies

available under the plan and shall be entitled to pursue any available remedies . . .

on the grounds that the plan has failed to provide a reasonable claims procedure

that would yield a decision on the merits of the claim.” 29 C.F.R. § 2560.503–1(1).

ERISA regulations also mandate that “[a] plan administrator may seek a 60–day

extension for the appeal process if special circumstances require additional time for

review.” 29 C.F.R. § 2560.503–1(i)(1)(i). Indeed, the Eleventh Circuit has found

that the “failure to respond further within the required sixty-day time frame was an

implicit denial of the appeal.” HCA Health Servs. of Georgia, Inc. v. Employers

Health Ins. Co., 240 F.3d 982, 992 (11th Cir. 2001), implied overruling recognized
                                          17
       Case 2:18-cv-01134-AKK Document 16 Filed 04/30/19 Page 18 of 24



by Doyle v. Liberty Life Assur. Co. of Bos., 542 F.3d 1352 (11th Cir. 2008). Here,

however, the court rejects Allen’s contention for the following reasons.

      First, one month after Allen submitted her appeal, Hartford clearly indicated

that it had forwarded her claim to the Maitland Office for further processing. Doc.

7-6. Allen has offered nothing to rebut Hartford’s contention that the Appeals Unit

never formally reviewed her appeal in light of this decision. Moreover, Allen

engaged with the Maitland Office by sending information that Hartford had

requested previously, which undermines her contention that she believed her claim

was being reviewed by the Appeals Unit. See Subsection B, supra. Also, Allen

waited four months to request a status update on her purported appeal, and

continued thereafter to submit information necessary for Hartford to complete its

review of her initial claim. Doc. 13-2 at 41. In light of this delay and Allen’s

submission of documents in response to requests from the Maitland Office, Allen

has failed to demonstrate that she maintained her appeal and thus was entitled to a

determination within 45 days.

      Second, in the absence of a proper appeal, “[t]here was accordingly nothing

for Hartford to consider on appeal, and no basis to require Hartford to issue its

decision in writing 45 days after it received the written request.” Swanson v.

Hearst Corp. Long Term Disability Plan, 586 F.3d 1016, 1019 (5th Cir. 2009)

(internal citation omitted). Allen’s January 2018 appeal included her concession


                                         18
       Case 2:18-cv-01134-AKK Document 16 Filed 04/30/19 Page 19 of 24



that she was submitting documents Hartford previously requested and stated it

needed to complete its initial determination of her benefits, implying that she also

intended to perfect her claim. Thereafter, she continued to send additional medical

records as late as May 2018. See id. (“ascrib[ing] no fault to Hartford for failing to

rule on the merits of the appeal, because [the court has] affirmed the district court’s

conclusion that there was no valid appeal on which to rule”). Moreover, “[i]f the

claimant waits for the plan administrator to issue a determination, then the claimant

should pursue the administrative route to its end.” Tindell v. Tree of Life, Inc., 672

F. Supp. 2d 1300, 1311 (M.D. Fla. 2009). This requirement is (1) “consistent with

the purpose of the exhaustion requirement,” (2) does “not impose an indefinite

delay or permit an administrator to delay accrual of the right to sue,” and (3) is

“consistent with ERISA’s deemed exhaustion provision.” Hall, 741 F. Supp. 2d at

1357. In that respect, to the extent that Allen believed that she filed a proper

appeal in January 2018, the delay in following up on her appeal and filing suit

cannot be attributed to Hartford or trigger the “deemed exhaustion provision.” Id.

      Finally, Allen appears to “essentially argu[e] for a new exception to the

administrative exhaustion requirement,” in which a claimant can refuse initially to

supply documents for administrative review to trigger a denial of benefits and then

seek an appeal while submitting additional documents to perfect a claim. Claxton,

700 F. Supp. 2d at 1328–29.        The court “is unwilling to extend the futility


                                          19
       Case 2:18-cv-01134-AKK Document 16 Filed 04/30/19 Page 20 of 24



exception . . . [because] the Eleventh Circuit has made clear that courts in this

circuit shall apply the exhaustion requirement strictly, and shall recognize only

narrow exceptions, based on exceptional circumstances.” Id. (citing Perrino, 209

F.3d at 1315). Indeed, “[t]he very premise of the exhaustion requirement . . . is

that the right to seek federal court review matures only after [the exhaustion]

requirement has been appropriately satisfied or otherwise excused.” Springer, 908

F.2d at 900. “Allowing [Allen’s] filing suit to qualify as an excuse or a substitute

for the exhaustion requirement would run contrary to its essence and intent.”

Garrison v. Lincoln Nat’l Life Ins. Co., 294 F. Supp. 3d 1281, 1295 (N.D. Ala.

2018). Therefore, in light of Allen’s failure to put forth evidence that she properly

pursued an appeal, Allen’s argument that the lack of a response constitutes a

deemed denial similarly fails. See Waters v. AIG Claims, Inc., No. 2:17-CV-133-

WKW, 2018 WL 2986213, at *4 (M.D. Ala. June 14, 2018) (noting that “there is

no authority to support the conclusion that a deemed denial always constitutes the

end of all claim administration”).

      D. Whether Hartford’s July 11, 2018 Letter Affirms Allen’s Exhaustion
         of Remedies

      Allen maintains lastly that the July 2018 4 letter denying her LTD claim for

the second time is a ruling on her January 2018 appeal and entitles her to automatic


4
  The July 2018 letter denying Allen’s LTD claim for a failure to provide necessary medical
information explains the appeals process, in relevant part, as follows:
                                            20
        Case 2:18-cv-01134-AKK Document 16 Filed 04/30/19 Page 21 of 24



judicial review. Doc. 14 at 32. This contention is unavailing because, as an initial

matter, there is no evidence that Hartford orchestrated a strategy to prevent Allen

from pursuing a timely appeal or from accessing the courts. Viewing Allen’s

January 2018 letter in conjunction with the correspondence between the parties that

continued until July 2018 reveals that Allen continued to submit documents to

supplement Hartford’s prior requests for more information to allow it to process

her claim. See Van Bael v. United Healthcare Servs., Inc., No. CV 18-6873, 2019

WL 142298, at *4 (E.D. La. Jan. 8, 2019) (“In assessing whether the administrator

has substantially complied’ with the applicable procedural requirements, the court

must consider[ ] all communications between an administrator and plan participant

to determine whether the information provided was sufficient under the

circumstances.”) (internal citations omitted). Moreover, Allen’s contention that

Hartford’s failure to rule on her initial appeal within 45 days allows her to now

bypass the appeal process is also unavailing. As stated previously, Hartford sent a



       If you do not agree with our denial, in whole or in part, and you wish to appeal
       our decision, you or your authorized representative must write to us within one
       hundred eighty (180) days from the later of receipt of the letter or the end of
       benefits. Your appeal letter should be signed, dated and clearly state your position
       . . . Along with your appeal letter, you may submit written comments, documents,
       records and other information related to your claim . . . If you are unable to or do
       not wish to provide the requested [necessary] information, you may submit an
       appeal of our decision to the Appeals Unit.

Doc. 7-13 at 5.


                                               21
       Case 2:18-cv-01134-AKK Document 16 Filed 04/30/19 Page 22 of 24



letter to Allen shortly after the forty-fifth day requesting additional information,

and Allen responded by submitting some of the information Hartford requested.

See docs. 7-7; 13-2 at 41; 7-8. Thereafter, when Hartford explained that an appeal

was not necessary at that juncture in response to Allen following up on the original

basis for her benefits termination, Allen never rebutted this contention. Doc. 13-2

at 73. And later, when Hartford asked for Dr. Fobian’s medical records, Allen’s

counsel sent “records from Dr. Fobian which [they] recently received from his

office.” Doc. 13-3 at 22.

      Furthermore, as further proof that Allen knew that Hartford construed her

January letter as a response to Hartford’s request for information, rather than an

appeal, counsel sent a letter to the Maitland Office expressing concern about

Hartford’s failure to make a decision, but also acknowledging that “Hartford had

previously been waiting on some information from Dr. Fobian.” Id. at 51. Finally,

Hartford’s continued requests for medical records were triggered by Allen’s failure

to submit necessary documentation, including past neuropsychological exams and

records from physicians, including from her new treating physician Dr. Khurram

Bashir. Docs. 15 at 10, n.1 and 13-2. Accordingly, the Maitland Office’s July

2018 denial of Allen’s claim is not a decision made on appeal because nothing in

the record suggests that the Appeals Unit made a decision on the merits of Allen’s

appeal. See also 29 C.F.R. § 2560.503–1(c) (“[t]he claims procedures of a group


                                        22
        Case 2:18-cv-01134-AKK Document 16 Filed 04/30/19 Page 23 of 24



health plan will be deemed to be reasonable only if . . . [t]he claims procedures do

not contain any provision, and are not administered in a way, that requires a

claimant to file more than two appeals of an adverse benefit determination prior to

bringing a civil action . . .”).

IV. CONCLUSION

       To close, in light of Allen’s failure to properly appeal in January 2018, the

court declines to exercise judicial review due to the important policies

undergirding the exhaustion requirement, which is “strictly enforce[d] . . . on

plaintiffs bringing ERISA claims in federal court with certain caveats [being]

reserved [only] for exceptional circumstances.” Perrino, 209 F.3d at 1315.

Consistent with the July 2018 denial letter, remand of Allen’s LTD claim to

Hartford is warranted so that, if she is so inclined, Allen may respond to the

outstanding medical requests to allow Hartford to complete its review and make a

substantive decision on the merits of her LTD claim, which will then permit Allen

to formally appeal an adverse decision. Alternatively, Allen may refuse to provide

additional information and formally appeal the July 2018 denial so that Hartford

may issue a decision on appeal from which Allen may properly file suit in this

court pursuant to 29 U.S.C. § 1132(a). There is no prejudice to Allen because a

“dismissal for failure to exhaust administrative remedies . . . is not a determination

on the merits,” Hutchinson, 726 F. Supp. at 1322, and “[t]he court will still be open


                                         23
       Case 2:18-cv-01134-AKK Document 16 Filed 04/30/19 Page 24 of 24



to [Allen] when [s]he has exhausted [her] appeals,” Amato v. Bernard, 618 F.2d

559, 569 (9th Cir. 1980).

      A separate order granting Hartford’s summary judgment motion, doc. 7, and

dismissing this case without prejudice will be issued.

      DONE the 30th day of April, 2019.


                                          _______________________________
                                                ABDUL K. KALLON
                                          UNITED STATES DISTRICT JUDGE




                                         24
